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   8
                            UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
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  12    CAMERON GAINER, an individual            Case No.: 8:17-CV-00672
  13                Plaintiff,                   [Hon. James v. Selna]
  14                                             DEFENDANT’S OPPOSITION TO
              vs.                                PLAINTIFF’S EX PARTE
  15                                             APPLICATION TO DENY OR
                                                 CONTINUE DEFENDANT’S
  16    THE KETCHUM GROUP, INC., d/b/a           MOTION FOR SUMMARY
        OUTDOOR TECHNOLOGY,                      JUDGMENT
  17
                    Defendant.
  18
  19    AND RELATED COUNTER-CLAIMS
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   1   I.    INTRODUCTION
   2         Plaintiff’s ex parte application should be denied because there are no facts
   3   beyond Plaintiff’s control that warrant a continuance. Fact discovery is closed, and
   4   Plaintiff does not contend that there are any facts outside of his control upon which
   5   he needs to oppose Defendant’s Motion for Summary Judgment.
   6         Instead, Plaintiff’s exclusive grounds for seeking a continuance is Plaintiff’s
   7   purported need to have his expert, Shannon Gilley, who has already prepared an
   8   opening report [See ECF No. 44 at ¶ 9; ECF No. 44-5], prepare a rebuttal report and
   9   to depose Defendant’s expert.
  10         However, Plaintiff bears the burden of proof on the issue of originality1
  11   (which is the central issue on Defendant’s MSJ), and Mr. Gilley’s opinion on
  12   originality should have been included in his opening report.
  13         Moreover, Mr. Gilley could have simply submitted an expert declaration with
  14   Plaintiff’s Opposition, and Plaintiff gives no reason why he did not.
  15         Further, Defendant did not even submit an expert declaration with its MSJ.
  16   As a result, there is no opinion to rebut, and Plaintiff does not need Defendant’s
  17   expert’s deposition to oppose the motion.
  18         In addition, expert testimony is not even necessary because, as set forth in
  19   Defendant’s MSJ, the issue of whether Plaintiff’s Bigfoot Silhouette is sufficiently
  20   different from the infamous prior art Patterson-Gimlin Bigfoot is a legal one. See
  21   Gracen v. Bradford Exch. & MGM, 698 F. 2d 300, 304 (7th Cir. 1983) (“But
  22   especially as applied to derivative works, the concept of originality in copyright law
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         See Ninth Circuit Model Jury Instruction 17.5 (“On the plaintiff’s copyright
  26   infringement claim, the plaintiff has the burden of proving by a preponderance of
       the evidence that: 1. the plaintiff is the owner of a valid copyright.”). See Ninth
  27   Circuit Model Instruction 17.6 (“The plaintiff is the owner of a valid copyright in . .
  28   . if the plaintiff proves by a preponderance of the evidence that: 1. the plaintiff’s
       work is original”)
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   1   has as one would expect a legal rather than aesthetic function -- to prevent
   2   overlapping claims.”).
   3         The issue of the originality of Plaintiff’s Bigfoot Silhouette as compared to
   4   the infamous Patterson-Gimlin Bigfoot has been the central issue in this case since it
   5   was filed. [See, e.g., ECF No. 21 at ¶ 10]. Plaintiff has subjected Defendant to over
   6   a year of litigation, fact discovery is closed, and there is no reason to delay
   7   resolution of this issue any further, other than to subject Defendant to more cost and
   8   expense. The lack of originality of Plaintiff’s Bigfoot Silhouette is a discrete issue
   9   that completely disposes of this this case. There should be no further delays and
  10   resolution of this issue need not be combined with any other issue.
  11         Finally, “extraordinary relief” by way of ex parte application is not necessary
  12   because Plaintiff has raised the Rule 56(d) issue in its Opposition to Defendant’s
  13   MSJ itself. (See Hon. James V. Selna Procedure No. 6 (“Ex Parte applications are
  14   for extraordinary relief only.”)). And raising this issue by ex parte application does
  15   not give Defendant a fair opportunity to respond.
  16         In this regard, Plaintiff waited to file this ex parte application until the day
  17   after its Opposition to Defendant’s MSJ was due. The ex parte application was not
  18   faxed to Defendant’s counsel until 10:48 a.m. this morning leaving Defendant’s
  19   counsel with less than a day to file this opposition. Defendant’s counsel requested
  20   that Plaintiff stipulate that its opposition to this ex parte application be concurrently
  21   filed with Defendant’s Reply Brief (which is due on Monday); however,
  22   Defendant’s counsel did not respond.
  23         Based on the foregoing, Defendant requests that the ex parte application be
  24   denied. Any consideration to a continuance should be done in conjunction with a
  25   ruling on the motion itself. Defendant’s MSJ will further demonstrate to this Court
  26   that a continuance is not warranted. Further, it will give Defendant a full and fair
  27   opportunity to brief the issue that it does not have now.
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   1   II.    LEGAL STANDARD UNDER RULE 56(d)
   2          Federal Rule of Civil Procxedure 56(d) states:
   3                When Facts Are Unavailable to the Nonmovant. If a
   4                nonmovant shows by affidavit or declaration that, for
   5                specified reasons, it cannot present facts essential to
   6                justify its opposition, the court may: (1) defer considering
   7                the motion [or] (2) allow time to obtain affidavits or
   8                declarations or to take discovery.
   9   Fed. R. Civ. P. 56(d) (emphasis added).
  10          “To prevail on a request for additional discovery under Rule 56(d), a party
  11   must show that ‘(1) it has set forth in affidavit form the specific facts it hopes to
  12   elicit from further discovery; (2) the facts sought exist; and (3) the sought-after facts
  13   are essential to oppose summary judgment.’” Midbrook Flowerbulbs Holland B.V.
  14   v. Holland Am. Bulb Farms, Inc., 874 F.3d 604, 619-20 (9th Cir. 2017).
  15          “The party must also show that it ‘diligently pursued its previous discovery
  16   opportunities, and . . . demonstrate that allowing additional discovery would . . .
  17   preclude[ ] summary judgment.’” Marentes v. State Farm Mut. Auto. Ins. Co., 224
  18   F.Supp.3d 891, 925 (N.D. Cal. 2016) quoting Bank of Am., NT & SA v. PENGWIN,
  19   175 F.3d 1109, 1118 (9th Cir. 1999).
  20          “Failure to comply with these requirements ‘is a proper ground for denying
  21   discovery and proceeding to summary judgment.’” Family Home & Fin. Ctr., Inc.
  22   v. Fed. Home Loan Mortg. Corp., 525 F.3d 822, 827 (9th Cir. 2008).
  23   III.   PLAINTIFF’S EX PARTE APPLICATION MUST BE DENIED
  24          Here, Plaintiff does not meet his burden of establishing the specific facts he
  25   hopes to elicit from his expert’s rebuttal opinion and the deposition of Defendant’s
  26   expert, (2) that the facts sought actually exist, and (3) that Plaintiff diligently
  27   pursued his previous discovery opportunities from his own expert.
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   1         To begin, the sole declaration submitted in support of the application (the
   2   Declaration of Christopher Larus [ECF No. 46-1]) states simply that “Plaintiff
   3   expects to serve a rebuttal expert opinion” and “Plaintiff seeks to depose
   4   Defendant’s expert.” [ECF No. 46-1, Larus Decl., ¶ 2]. The declaration goes on to
   5   state that: “Given the technical nature of the taxidermy techniques at play in
   6   Gainer’s works, such evidence will be used to support Plaintiff’s claim of sufficient
   7   copyrightability under the laws” and “Mr. Gainer would like the opportunity to
   8   depose Defendant’s expert.” [ECF No. 46-1, Larus Decl., ¶¶ 4-5]. The rest of the
   9   Larus Declaration lists dates when documents were filed or are due to be filed and
  10   two exhibits Plaintiff contends are relevant to the ex parte application. [ECF No.
  11   46-1, Larus Decl., ¶¶ 1, 3, 6, 7].
  12         Yet Plaintiff does not state in this declaration what specific facts he needs to
  13   elicit. Nor does he even begin to declare that the sough-after facts actually exist.
  14   Plaintiff presents no examples of his expert’s opinion, fails to offer excerpts from
  15   his expert’s existing report or proposed rebuttal report, and fails to even attach a
  16   declaration from his expert. His own expert submitted an initial report on March 9,
  17   2018, pursuant to this Court’s Scheduling Order. Since Plaintiff, not Defendant,
  18   bears the burden of establishing the originality of his work, this would have been an
  19   easy task for Plaintiff to accomplish.
  20         Separately, Plaintiff fails to explain how he failed to diligently pursue this
  21   information from his own expert under Marentes. This “opinion” is uniquely within
  22   Plaintiff’s control and which Plaintiff himself must establish as part of his burden of
  23   proving originality. Here, the facts concerning originality have always been
  24   available to Plaintiff, as they are exclusively within his and his attorneys’ control.
  25   Indeed, the facts surrounding the originality of Plaintiff’s works have been available
  26   to Plaintiff since 2006 when he created his work and available to Plaintiff’s counsel
  27   since at least the date of the copyright registration in October 2016.
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   1         The Fifth Circuit Court of Appeals addressed a similar situation in SEC v.
   2   Recile, 10 F.3d 1093, 1098 (5th Cir. 1993). There, the court wrote:
   3                [T]he request [under Rule 56(d)] need not be granted
   4                when the party opposing the motion ‘simply relies on
   5                vague assertions that additional discovery will produce
   6                needed, but unspecified facts,’ particularly when ‘ample
   7                time and opportunities for discovery have already lapsed.
   8                      Recile failed to identify to the district court what
   9                specific facts he was going to uncover or develop with
  10                additional discovery. Indeed, Recile failed . . . even to
  11                identify the specific issues that the additional discovery
  12                would have addressed. Furthermore, Recile had been
  13                involved in discovery for fifteen months before the
  14                hearing on the summary judgment motion--discovery that
  15                focused on facts regarding his mental state that were
  16                within his easy grasp.
  17   SEC v. Recile, 10 F.3d 1093, 1098 (5th Cir. 1993) (emphasis added).
  18         As in Recile, Plaintiff has been involved in discovery for approximately
  19   twelve months before the summary judgment hearing date on April 16, 2018. Fact
  20   discovery is now closed. [ECF No. 35.]
  21         The facts surrounding the alleged originality of Plaintiff’s two works are
  22   uniquely within Plaintiff’s “easy grasp” and have been so since 2006. Last, Plaintiff
  23   does not state by declaration what specific facts the “rebuttal expert opinion” will
  24   establish. [See ECF No. 46, Ex Parte Application, p. 2]. Rather, Plaintiff is content
  25   to simply state that “Defendant’s Motion Requires Expert Discovery” and that
  26   “Plaintiff expects to serve a rebuttal expert opinion on Defendant.” [See ECF No.
  27   Ex Parte Application, p. 2, lines 3-4, 14-15]. Further, as illustrated by Defendant’s
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   1   MSJ, expert testimony is not even needed on this issue. See Gracen, 698 F. 2d at
   2   304.
   3          The same failings are present with respect to Plaintiff’s claim that he needs to
   4   depose Defendant’s expert, although he concedes that he has already read and
   5   digested Defendant’s expert’s initial report at length. [See ECF No. 46-1, Larus
   6   Decl., ¶¶ 1, 4]. And again, Defendant did not submit an expert declaration in
   7   support of its MSJ so Plaintiff does not need the deposition to oppose it.
   8          Finally, the cases cited by Plaintiff actually support Defendant’s position.
   9   None involve the situation here where fact discovery is closed, and the Plaintiff
  10   relies on Rule 56(d) to submit a declaration from his own expert (on an issue on
  11   which Plaintiff bears the burden of proof). In Visa Int’l Services, Assn, v. Bankcard
  12   Holders of America, 784 F.2d 1472 (9th Cir. 1986), fact discovery was open and
  13   there was an outstanding motion to compel discovery responses on issues that were
  14   within the defendant—the moving parties’--control. Id. at 1476. The plaintiff
  15   identified specifically the evidence it sought to obtain from the defendant on the
  16   pending discovery motion. Id.
  17          Likewise, in Garrett v. San Francisco, v. 818 F.2d 1515, 1518-19 (9th Cir.
  18   1987), fact discovery was still open and the plaintiff had a pending motion to
  19   compel. Id. The specific discovery sought was exclusively within the defendant’s
  20   control and directly relevant to the issues on summary judgment. Id.
  21          Jewel Cos v. Pay Less Drug Stores North -West, Inc., 741 F.2d 1555, 1567
  22   (9th Cir. 1984) is simply inapplicable. There, the Court of Appeal revised the trial
  23   court’s grant of summary judgment finding that there were triable issues of fact. Id.
  24   at 1567 (“We therefore hold that because material issues of fact await resolution the
  25   district court erred in disposing of this issue on a motion for summary judgment”).
  26          Alghanim v. Boeing Co. 477 F.2d 143, 147-48 (9th Cir. 1973) involved the
  27   unusual situation where the plaintiff was a resident of Kuwait and “it was
  28   impossible to prepare affidavits, mail them to Kuwait, and have them returned to
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   1   Seattle prior to the hearing scheduled for February 5, 1971.” Id. Given that it was
   2   1973, there was no fax or email, and the plaintiff was logistically unable to obtain a
   3   signed declaration from halfway around the world in time to oppose the motion.
   4         None of these factors are present here. Plaintiff fails to meet his burden under
   5   Midbrook Flowerbulbs Holland and Marentes, Plaintiff’s ex parte application
   6   should be denied. See Family Home & Fin. Ctr., 525 F.3d at 827.
   7   IV.   CONCLUSION
   8         Defendant respectfully requests that the ex parte application be denied and
   9   that any consideration of this issue be done in conjunction with the Court’s ruling on
  10   the motion itself as the same issue is raised in Plaintiff’s Opposition.
  11
         DATED: March 27, 2018            THE KNEAFSEY FIRM, INC.
  12
  13                                                  /s/ Sean M. Kneafsey
                                          By                                 ________
  14                                                  Sean M. Kneafsey
  15                                      Attorneys for Defendant and Counter-Claimant
                                          THE KETCHUM GROUP, INC.
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